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     UBER TECHNOLOGIES, INC.
13   and OTTOMOTTO LLC

14                            UNITED STATES DISTRICT COURT
15                         NORTHERN DISTRICT OF CALIFORNIA
16                                  SAN FRANCISCO DIVISION
17   WAYMO LLC,                                   Case No.     3:17-cv-00939-WHA
18                     Plaintiff,                 DECLARATION OF MAXWELL V.
                                                  PRITT IN SUPPORT OF
19         v.                                     DEFENDANTS UBER
                                                  TECHNOLOGIES, INC.’S AND
20   UBER TECHNOLOGIES, INC.,                     OTTOMOTTO, LLC’S MOTION TO
     OTTOMOTTO LLC; OTTO TRUCKING LLC,            COMPEL RESPONSES TO
21                                                DOCUMENT REQUESTS AND
                       Defendants.                INTERROGATORIES, ENFORCE
22                                                THE COURT ORDER’S ON SEACH
                                                  TERMS, AND COMPEL 30(B)(6)
23                                                TESTIMONY
24
                                                  Judge:      Hon. Jacqueline Scott Corley
25                                                Trial Date: October 10, 2017
26

27
28
        PRITT DECL. ISO UBER’S AND OTTOMOTTO’S MOT. TO COMPEL RESPONSES TO DOCUMENT
      REQUESTS AND INTERROGATORIES, ENFORCE COURT ORDER, AND COMPEL 30(B)(6) TESTIMONY
                                   CASE NO. 3:17-CV-00939-WHA
     Case 3:17-cv-00939-WHA Document 1215-1 Filed 08/15/17 Page 2 of 3



1           I, Maxwell Pritt, declare as follows:

2           1.       I am counsel at the law firm of Boies Schiller Flexner LLP representing

3    Defendants Uber Technologies Inc. and Ottomotto LLC (collectively, “Uber”) in this matter. I

4    am a member in good standing of the Bar of the State of California. I make this declaration in

5    support of Uber’s motion to compel Waymo to answer or supplement its responses to Uber’s

6    Interrogatory Nos. 18-20 and 24-25, to produce documents sought by Uber’s Request for

7    Production of Documents Nos. 166 and 170-175, to designate a 30(b)(6) witness to testify on

8    Uber’s Topic 7 regarding Waymo’s use of indemnification provisions, and to enforce the Court’s

9    August 7 order that Waymo run bonus search terms on the 11 custodians identified by Uber and

10   its 30(b)(6) witnesses on Uber’s 30(b)(6) bonus topic. I make this declaration based on personal

11   knowledge and if called as a witness, I could and would competently testify to the matters set

12   forth herein.

13          2.       Attached as Exhibit 1 is a true and correct copy of Plaintiff Waymo LLC’s

14   (“Waymo’s”) Objections and Responses to Uber’s Fifth Set of Interrogatories (Nos. 18-24).

15          3.       Attached as Exhibit 2 is a true and correct copy of Waymo’s Objections and

16   Responses to Uber’s Sixth Set of Interrogatories (Nos. 25-27).

17          4.       Attached as Exhibit 3 is a true and correct copy of Waymo’s Responses and

18   Objections to Uber’s Fourth Set of Requests for Productions (No 164-166).

19          5.       Attached as Exhibit 4 is a true and correct copy of Waymo’s Responses and

20   Objections to Uber’s Fifth Set of Requests for Productions (No 167-175).

21          6.       Attached as Exhibit 5 is true and correct copy of excerpts of the certified

22   deposition transcript of Jai Krishan, dated August 9, 2017.

23          7.       Attached as Exhibit 6 is a true and correct copy of emails between me, Special

24   Master John Cooper, Waymo counsel Andrea Roberts, and others dated between July 8 and July

25   30, 2017.

26          8.       Attached as Exhibit 7 is a true and correct copy of emails between me, Special

27   Master Cooper, Waymo counsel Jeff Nardinelli, and others dated between August 6 and August

28   8, 2017.
                                                 1
        PRITT DECL. ISO UBER’S AND OTTOMOTTO’S MOT. TO COMPEL RESPONSES TO DOCUMENT
      REQUESTS AND INTERROGATORIES, ENFORCE COURT ORDER, AND COMPEL 30(B)(6) TESTIMONY
                                   CASE NO. 3:17-CV-00939-WHA
     Case 3:17-cv-00939-WHA Document 1215-1 Filed 08/15/17 Page 3 of 3



1           9.      Attached as Exhibit 8 is true and correct copy of emails between me and Andrea

2    Roberts Pritt dated between August 7 and August 9, 2017.

3           10.     Attached as Exhibit 9 is a true and correct copy of an email Waymo counsel

4    Andrea Roberts to Special Master Cooper and counsel for Defendants, and others, dated August

5    11, 2017.

6           11.     Attached as Exhibit 10 is a true and correct copy of emails between me, Waymo

7    counsel Andrea Roberts, Special Master Cooper, and others dated between August 10 and August

8    12, 2017.

9           I declare under penalty of perjury under the laws of the United States that the foregoing is

10   true and correct. Executed this 15th day of August, 2017, in Oakland, California.

11

12
                                                          /s/ Maxwell V. Pritt
13                                                               Maxwell V. Pritt
14

15                               ATTESTATION OF E-FILED SIGNATURE

16          I, Karen L. Dunn, am the ECF User whose ID and password are being used to file this

17   Declaration. In compliance with General Order 45, X.B., I hereby attest that Maxwell V. Pritt has

18   concurred in this filing.

19
                                                         /s/ Karen L. Dunn
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                                                                 Karen L. Dunn
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        PRITT DECL. ISO UBER’S AND OTTOMOTTO’S MOT. TO COMPEL RESPONSES TO DOCUMENT
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